        Case 3:20-cv-00133-JCH Document 219 Filed 12/23/20 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF CONNECTICUT

  JAKUB MADEJ,                               :
           Plaintiff,                        :
  v.                                         :         CIVIL ACTION NO.
                                             :         3:20-cv-133 (JCH)
  YALE UNIVERSITY ET AL.,                    :
            Defendants.                      :         DECEMBER 23, 2020


                 PLAINTIFF’S RESPONSE TO DEFENDANTS’
        MOTION TO STRIKE PLAINTIFF'S CLAIMS FOR DAMAGES [DE 190]

       On December 2, 2020, Defendants Yale University and several of its

administrators (collectively “Yale Defendants”) moved to strike Plaintiff Jakub Madej’s

(“Madej”) claims for damages. DE 190. Posturing as enforcers of the Court’s orders,

Defendants advance no argument but one: that “the damages analysis wholly fails to

comply with the Court’s order”. Id. at 1. Their request should be denied.

       Madej provided Defendants with a calculation of damages, which states in plain

language what damages Madej claims, and what grounds exists for these damages. DE

190-1. Yale Defendants assert, without much effort, that “[t]here should be documents

supporting the claimed damages for … medical expenses, future medical expenses,

loss of earnings, past lost wages, and attorney’s fees and costs”. Id. at 2. To the extent

there “should be” some documents, Defendants repeatedly declined to state what

“documents” they seek, or what further information they wish to obtain with regards to

damages. See Exhibit A at 1, 3, 5. In other words, Yale does not ask how Madej has

been damaged, or how Madej has calculated his damages. They were provided with

that information. Rather, Defendants merely seek to deny Madej a right to claim

damages, vaguely arguing there should be some “documents” attached. Their motion is



                                           1 of 2
        Case 3:20-cv-00133-JCH Document 219 Filed 12/23/20 Page 2 of 2




improper, and only seeks to unnecessarily protract this suit. Defendants’ motion is also

premature, as the Court is not asked to rule on merits of this case, including damages,

at this stage. Yale’s request must therefore be denied.


Dated: December 23, 2020.                   Respectfully submitted,
                                            By: /s/ Jakub Madej
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                                          2 of 2
